          Case 1:13-vv-00578-UNJ Document 57 Filed 05/20/16 Page 1 of 2




    In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                       No. 13-578V
                                   Filed: April 29, 2016

*************************                                 UNPUBLISHED
JAMES A. FIELDS,                           *
                                           *              Special Master Hamilton-Fieldman
                      Petitioner,          *
                                           *
v.                                         *              Attorneys’ Fees and Costs;
                                           *              Reasonable Amount Requested
SECRETARY OF HEALTH                        *              to which Respondent Does Not
AND HUMAN SERVICES,                        *              Object.
                                           *
                      Respondent.          *
*************************
Gary Alvin Bryant, Willcox & Savage, P.C., Norfolk, VA, for Petitioner.
Althea Davis, United States Department of Justice, Washington, DC, for Respondent.

                                           DECISION 1

       On August 14, 2013, James A. Fields (“Petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program. 2 42 U.S.C. §§ 300aa-1 to -34 (2006). In an
amended Petition 3 filed on December 10, 2014, Petitioner alleged that an influenza (“flu”)
vaccination administered on December 2, 2011 caused “significant aggravation of [his]
transverse myelitis or myelopathy.” On February 1, 2016, the undersigned issued a decision
awarding compensation to Petitioner.


1
 Because this unpublished decision contains a reasoned explanation for the action in this case,
the undersigned intends to post this decision on the United States Court of Federal Claims’
website, in accordance with the E-Government Act of 2002, codified as amended at 44 U.S.C. §
3501 note (2012). In accordance with Vaccine Rule 18(b), a party has 14 days to identify and
move to delete medical or other information, that satisfies the criteria in § 300aa-12(d)(4)(B).
Consistent with the rule requirement, a motion for redaction must include a proposed redacted
decision. If, upon review, the undersigned agrees that the identified material fits within the
requirements of that provision, such material will be deleted from public access.
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.
3
 In his initial Petition, Petitioner alleged that the influenza vaccine administered on December 2,
2011 caused him to develop transverse myelitis.
         Case 1:13-vv-00578-UNJ Document 57 Filed 05/20/16 Page 2 of 2




        On April 20, 2016, Petitioner filed a motion fees and costs. In his motion, Petitioner
requests compensation for $68,029.08 in attorneys’ fees and costs. Petitioner represents that he
has not personally incurred any fees or costs in pursuit of his vaccine claim. See General Order
No. 9 Statement, filed April 26, 2016.

        On April 29, 2016, Respondent filed a response to Petitioner’s motion in which she states
that she “does not object to the overall amount sought, as it is not an unreasonable amount to
have been incurred for proceedings in this case to date.”

        The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C.
§ 300aa-15(e). The undersigned finds that this petition was brought in good faith and that there
existed a reasonable basis for the claim. Therefore, an award for fees and costs is appropriate,
pursuant to 42 U.S.C. § 300aa-15(b) and (e)(1). Further, the proposed amount seems reasonable
and appropriate. Accordingly, the undersigned hereby awards the amount of $68,029.08, in
the form of a check made payable jointly to Petitioner and Petitioner’s counsel, Gary Alvin
Bryant.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court shall enter judgment in accordance herewith. 4

       IT IS SO ORDERED.

                                                    /s/Lisa D. Hamilton-Fieldman
                                                    Lisa D. Hamilton-Fieldman
                                                    Special Master




4
 Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to
seek review. Vaccine Rule 11(a).
